Case
Case 5:17-cv-00121-RWS-CMC
     5:17-cv-00121-RWS-CMC Document
                           Document 242
                                    232 Filed
                                        Filed 07/23/18
                                              07/19/18 Page
                                                       Page 1
                                                            1 of
                                                              of 9
                                                                 9 PageID
                                                                   PageID #:
                                                                          #: 2505
                                                                             2454



                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                            TEXARKANA DIVISION


   UNITED STATES OF AMERICA             )
   ex rel. HEALTH CHOICE ADVOCATES, LLC )
   et al.,                              )
                                        )
                Plaintiffs,             )
                                        )
   v.                                   )           Civil Action No. 5:17-cv-00121
                                        )
   GILEAD SCIENCES, INC.,               )           Judge Robert W. Schroeder III
   et al.,                              )
                                        )
                Defendants.             )

      DEFENDANTS COVANCE INC. AND HEALTHSTAR CLINICAL EDUCATION
       SOLUTIONS, LLC’S EMERGENCY UNOPPOSED MOTION FOR PARTIAL
    UNSEALING OF DOCUMENTS RELATED TO DEFENDANT GILEAD SCIENCES,
    INC.’S MOTION TO DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION
Case
Case 5:17-cv-00121-RWS-CMC
     5:17-cv-00121-RWS-CMC Document
                           Document 242
                                    232 Filed
                                        Filed 07/23/18
                                              07/19/18 Page
                                                       Page 2
                                                            2 of
                                                              of 9
                                                                 9 PageID
                                                                   PageID #:
                                                                          #: 2506
                                                                             2455



          Defendants Covance Inc. (“Covance”) and HealthStar Clinical Education Solutions, LLC

   (“HSCES”) (collectively, “Defendants”) respectfully submit this Emergency Unopposed Motion

   for Partial Unsealing of the Documents Related to Defendant Gilead Science Inc.’s Motion to

   Dismiss for Lack of Subject Matter Jurisdiction. Defendants ask this Court to permit Defendants

   access to the briefing (including attachments) and hearing transcript related to Defendant Gilead

   Sciences Inc.’s (“Gilead”) Motion to Dismiss the First Amended Complaint (“Amended

   Complaint”) filed by Relators Health Choice Advocates, LLC (“HCA, LLC”) and Jaime Green

   (collectively, “Relators”) for lack of subject matter jurisdiction (“Motion to Dismiss”) (Dkt. 73).

   Gilead, Relators, and the United States Department of Justice have all indicated they do not

   object to Defendants’ Motion.


                                             BACKGROUND

          Relator HCA, LLC filed its initial qui tam Complaint pursuant to the False Claims Act,

   31 U.S.C. § 3729 et seq. (“FCA”), on June 14, 2017. Dkt. 1. Consistent with the FCA’s

   procedural requirements, the Complaint was filed under seal while the government investigated.

   31 U.S.C. § 3730(b)(2). Ultimately, the federal government and all thirty-one named states

   declined to intervene, and the complaint was unsealed and served. Dkts. 8, 9. On January 12,

   2018, Relators filed the Amended Complaint, adding Green as a relator. Dkt. 53.

          Gilead then filed its Motion to Dismiss Relators’ Amended Complaint for lack of subject

   matter jurisdiction. The FCA contains “a number of jurisdictional limits on [its] qui tam

   provisions, including its first-to-file bar, which provides that the district court lacks subject

   matter jurisdiction to hear the claim if a previously-filed suit contains the same ‘material

   elements’ or ‘essential facts’ as the later-filed suit. U.S. ex rel. Johnson v. Planned Parenthood

   of Hous., 570 F. App’x. 386, 389 (5th Cir. 2014); see also 31 U.S.C. § 3730(b)(5) (“When a


                                                      1
Case
Case 5:17-cv-00121-RWS-CMC
     5:17-cv-00121-RWS-CMC Document
                           Document 242
                                    232 Filed
                                        Filed 07/23/18
                                              07/19/18 Page
                                                       Page 3
                                                            3 of
                                                              of 9
                                                                 9 PageID
                                                                   PageID #:
                                                                          #: 2507
                                                                             2456



   person brings an action under this subsection, no person other than the Government may

   intervene or bring a related action based on the facts underlying the pending action.”). Over the

   course of the next four months, both Gilead and Relators filed multiple documents relating to the

   Motion to Dismiss, which were sealed both from the public and from the remaining parties in the

   case. Likewise, the May 14, 2018 hearing on Gilead’s Motion to Dismiss was sealed, and the

   only parties permitted to be present were (1) court personnel; and (2) representatives and counsel

   for Relators and Gilead. (Dkt. 174.)

          On June 28, 2018, Magistrate Judge Craven issued her Report and Recommendation

   (“R&R”) that, according to a separate publicly-filed order, “recommend[s] Gilead’s Motion to

   Dismiss Relators’ Amended Complaint for Lack of Subject Matter Jurisdiction [Dkt. 73] be

   granted in part and denied in part.” (Dkt. 218.)1



                                 Particularly given that the R&R is one addressing a motion attacking

   the Court’s subject matter jurisdiction, its recommended disposition of Gilead’s Motion to

   Dismiss significantly impacts not only Gilead, but also Covance and HSCES. (See Dkt. 217.)




                                                                                    Defendants

   therefore request that they be permitted to access the following documents, including any

   exhibits attached thereto, that are under seal (“Sealed Documents”):

      •   Dkt. 41 – Gilead’s Unopposed Sealed Motion for Leave to File Under Seal its Unopposed
          Motion for Extension of Time to Respond to Relator's Complaint
      •   Dkt. 42 – Gilead’s Unopposed Sealed Motion for Extension of Time to Respond to
          Relator's Complaint

          1
              The R&R was provided to all parties, including Covance and HSCES.

                                                         2
Case
Case 5:17-cv-00121-RWS-CMC
     5:17-cv-00121-RWS-CMC Document
                           Document 242
                                    232 Filed
                                        Filed 07/23/18
                                              07/19/18 Page
                                                       Page 4
                                                            4 of
                                                              of 9
                                                                 9 PageID
                                                                   PageID #:
                                                                          #: 2508
                                                                             2457



     •   Dkt. 43 – Gilead’s Redacted Sealed Unopposed Motion for Leave to File Under Seal its
         Unopposed Motion for Extension of Time to Respond to Relator's Complaint
     •   Dkts. 72, 77 - Gilead's Unopposed Sealed Motion for Leave to File Motion to Dismiss for
         Lack of Subject Matter Jurisdiction Under Seal
     •   Dkts. 73, 80 – Gilead's Motion to Dismiss Relators' Amended Complaint for Lack of
         Subject Matter Jurisdiction and Memorandum of Law in Support
     •   Dkts. 74, 78 – Gilead's Unopposed Motion to File Opposed Motion to Stay Discovery
         Under Seal
     •   Dkts. 75, 79 – Gilead's Opposed Sealed Motion to Stay Discovery Pending Resolution of
         Gilead's Motions to Dismiss with Brief in Support
     •   Dkts. 121, 126 – Gilead’s Unopposed Sealed Motion to File Reply in Support of
         Defendant Gilead's Motion to Stay Discovery Under Seal
     •   Dkts. 122, 123 – Gilead’s Sealed Reply to Response to Motion re Opposed Sealed
         Motion to Stay Discovery Pending Resolution of Gilead's Motions to Dismiss with Brief
         in Support
     •   Dkt. 145 – Relators’ Unopposed Motion for Leave to File Under Seal
     •   Dkts. 147, 149 – Relators’ Sealed Response to Motion to Dismiss Relators' Amended
         Complaint for Lack of Subject Matter Jurisdiction
     •   Dkts. 156, 169 – Gilead’s Unopposed Sealed Motion to File Reply in Support of its
         Motion to Dismiss for Lack of Subject Matter Jurisdiction Under Seal
     •   Dkts. 157, 170 – Gilead’s Sealed Reply to Response to Motion re Sealed Motion to
         Dismiss Relators' Amended Complaint for Lack of Subject Matter Jurisdiction
     •   Dkts. 158, 171 – Gilead’s Unopposed Sealed Motion to File Motion to Strike Declaration
         of Christopher L. Nelson Under Seal
     •   Dkts. 159, 172 – Gilead’s Opposed Sealed Motion to Strike Declaration of Christopher L.
         Nelson
     •   Dkt. 176 – Relators’ Sealed Sur-Reply to Gilead's Motion to Dismiss Relators' Amended
         Complaint for Lack of Subject Matter Jurisdiction
     •   Dkt. 181 – Relators’ Sealed Response to Motion [Dkt. 159] Opposed Sealed Motion to
         Strike Declaration of Christopher L. Nelson
     •   Dkt. 194 – Sealed Transcript of Proceedings on 5/14/18 before Judge Craven
     •   Dkts. 197, 201 – Gilead's Unopposed Sealed Motion for Leave to File Under Seal its
         Opposed Motion for Leave to File Supplemental Authority in Support of Motion to
         Dismiss Relators' Amended Complaint for Lack of Subject Matter Jurisdiction
     •   Dkts. 198, 202 – Gilead’s Opposed Sealed Motion for Leave to File Supplemental
         Authority in Support of Motion to Dismiss Relators' Amended Complaint for Lack of
         Subject Matter Jurisdiction
     •   Dkt. 204 – Relators’ Sealed Response to Motion re [Dkt. 198] Opposed Sealed Motion
         for Leave to File Supplemental Authority In Support of Its Motion to Dismiss Relators’
         Amended Complaint for Lack of Subject Matter Jurisdiction
     •   Dkts. 214, 216 – Gilead’s Sealed Reply to Motion re Opposed Sealed Motion for Leave
         to File Supplemental Authority in Support of Motion to Dismiss Relators' Amended
         Complaint for Lack of Subject Matter Jurisdiction



                                                3
Case
Case 5:17-cv-00121-RWS-CMC
     5:17-cv-00121-RWS-CMC Document
                           Document 242
                                    232 Filed
                                        Filed 07/23/18
                                              07/19/18 Page
                                                       Page 5
                                                            5 of
                                                              of 9
                                                                 9 PageID
                                                                   PageID #:
                                                                          #: 2509
                                                                             2458



                                              ANALYSIS

          A district court should use caution when exercising its discretion to place records under

   seal because there is a “strong presumption that all trial proceedings should be subject to scrutiny

   by the public.” United States v. Holy Land Found. for Relief & Dev., 624 F.3d 685, 690 (5th Cir.

   2010). That presumption may be overcome by a “showing that a sealing order is necessary to

   protect important countervailing values.” Bianco v. Globus Med., Inc., No. 12-CV-00147, 2014

   WL 3422000, *1 (E.D. Tex. July 14, 2014).

          Here, Defendants agree that the Sealed Documents—

                    —should remain sealed from the public.




                        See, e.g., Under Seal v. Under Seal, 326 F.3d 479, 486 (4th Cir. 2003)

   (explaining the “purpose of the FCA does not support continued sealing, and only justifies

   sealing in order that the government may investigate”) (citing Lujan v. Hughes Aircraft Co., 67

   F.3d 242, 245 (9th Cir. 1995) (explaining that the purpose of § 3730(b)(2)’s sealing provision is

   to allow the Government to study and evaluate, out of public view, the relator’s information for

   possible intervention or overlapping criminal investigation)). Stated differently, no

   “countervailing Government interest in nondisclosure” exists as to Defendants, and the Court




                                                    4
Case
Case 5:17-cv-00121-RWS-CMC
     5:17-cv-00121-RWS-CMC Document
                           Document 242
                                    232 Filed
                                        Filed 07/23/18
                                              07/19/18 Page
                                                       Page 6
                                                            6 of
                                                              of 9
                                                                 9 PageID
                                                                   PageID #:
                                                                          #: 2510
                                                                             2459



   should permit them to access the Sealed Documents. See United States v. Holy Land Found. for

   Relief & Dev., 624 F.3d 685, 691 (5th Cir. 2010).

          Furthermore, Defendants will suffer significant prejudice in their ability to prepare

   adequate objections to the R&R if they are not permitted to access the briefing and hearing

   transcript for the Motion to Dismiss. Cf. Application of Eisenberg, 654 F.2d 1107, 1112 (5th Cir.

   1981) (“Our adversarial legal system generally does not tolerate ex parte determinations on the

   merits of a civil case”). The “strong presumption” favoring access and the significant interests of

   Defendants support unsealing the Sealed Documents as to Defendants.

          Relators and Gilead do not oppose Defendants’ request.

                                           CONCLUSION

          WHEREFORE, for the reasons stated above, Defendants respectfully request that the

   Court grant Defendants’ Emergency Unopposed Motion for Partial Unsealing of the Documents

   Related to Defendant Gilead Science Inc.’s Motion to Dismiss for Lack of Subject Matter

   Jurisdiction.




                                                   5
Case
Case 5:17-cv-00121-RWS-CMC
     5:17-cv-00121-RWS-CMC Document
                           Document 242
                                    232 Filed
                                        Filed 07/23/18
                                              07/19/18 Page
                                                       Page 7
                                                            7 of
                                                              of 9
                                                                 9 PageID
                                                                   PageID #:
                                                                          #: 2511
                                                                             2460



   Dated: July 19, 2018            Respectfully submitted,

                                   /s/ Clyde M. Siebman
                                   Clyde M. Siebman
                                   Texas Bar No. 18341600
                                   Elizabeth S. Forrest
                                   Texas Bar No. 24086207
                                   Siebman Forrest Burg & Smith, LLP
                                   300 N. Travis Street
                                   Sherman, Texas 75090
                                   Telephone:     (903) 870-0070
                                   Facsimile:     (903) 870-0066
                                   Email: clydesiebman@siebman.com
                                   Email: elizabethforrest@siebman.com

                                   Stephen G. Sozio (admitted pro hac vice)
                                   JONES DAY
                                   North Point
                                   901 Lakeside Avenue
                                   Cleveland, Ohio 44114-1190
                                   Phone: (216) 586-3939
                                   Fax:   (216) 579-0212
                                   Email: sgsozio@jonesday.com

                                   Heather M. O’Shea (admitted pro hac vice)
                                   JONES DAY
                                   77 W. Wacker Dr.
                                   Chicago, IL 60601
                                   Phone: (312) 782-3939
                                   Fax:    (312) 782-8585
                                   Email: hoshea@jonesday.com

                                   B. Kurt Copper (admitted pro hac vice)
                                   JONES DAY
                                   325 John H. McConnell Blvd., Suite 600
                                   Columbus, OH 43215
                                   Phone: (614) 281-3963
                                   Fax:    (614) 461-4198
                                   Email: bkcopper@jonesday.com

                                   Counsel for Defendant Covance Inc.
Case
Case 5:17-cv-00121-RWS-CMC
     5:17-cv-00121-RWS-CMC Document
                           Document 242
                                    232 Filed
                                        Filed 07/23/18
                                              07/19/18 Page
                                                       Page 8
                                                            8 of
                                                              of 9
                                                                 9 PageID
                                                                   PageID #:
                                                                          #: 2512
                                                                             2461



                                   Respectfully submitted,

                                   /s/ Rebecca C. Martin
                                   Rebecca C. Martin (admitted to E.D. Tex.)
                                   New York State Bar No. 2631380
                                   Andrew B. Kratenstein (admitted pro hac
                                   vice)
                                   New York State Bar No. 3037975
                                   McDermott Will & Emery LLP
                                   340 Madison Ave
                                   New York, NY 10173
                                   Email: rcmartin@mwe.com
                                   akratemstein@mwe.com

                                   Eli Burriss
                                   Texas Bar No. 24040611
                                   McDermott Will & Emery LLP
                                   2501 North Harwood Street, Suite 1900
                                   Dallas, Texas 75201
                                   Tel.: (214) 295-8053
                                   Email: eburriss@mwe.com

                                   Attorneys for Defendant
                                   HealthStar Clinical Education Solutions,
                                   LLC
Case
Case 5:17-cv-00121-RWS-CMC
     5:17-cv-00121-RWS-CMC Document
                           Document 242
                                    232 Filed
                                        Filed 07/23/18
                                              07/19/18 Page
                                                       Page 9
                                                            9 of
                                                              of 9
                                                                 9 PageID
                                                                   PageID #:
                                                                          #: 2513
                                                                             2462



                                     CERTIFICATE OF SERVICE

   I hereby certify that on this 19th day of July, 2018, I filed the foregoing with the Clerk of the

   United States District Court under seal using the CM/ECF system, which will provide counsel of

   record with an electronic copy.



                                                     /s/ Clyde M. Siebman
                                                     Counsel for Defendant Covance Inc.
